                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                   MIDLAND DIVISION

In re:                                                     Chapter 15

KODIAK SERVICES USA, INC.,                                 Case No. ____-_____ (___)

Debtor in Foreign Proceeding.                              Recognition Request Pending

In re:                                                     Chapter 15

KODIAK SERVICES PARTNERSHIP,                               Case No. ____-_____ (___)

Debtor in Foreign Proceeding.                              Recognition Request Pending

In re:                                                     Chapter 15

KODIAK WIRELINE SERVICES LTD.,                             Case No. ____-_____ (___)

Debtor in Foreign Proceeding.                              Recognition Request Pending

In re:                                                     Chapter 15

KODIAK ENERGY SOLUTIONS LTD.,                              Case No. ____-_____ (___)

Debtor in Foreign Proceeding.                              Recognition Request Pending

In re:                                                     Chapter 15

KODIAK TOOLS LTD.,                                         Case No. ____-_____ (___)

Debtor in Foreign Proceeding.                              Recognition Request Pending

In re:                                                     Chapter 15

1623360 ALBERTA LTD.,                                      Case No. ____-_____ (___)

Debtor in Foreign Proceeding.1                             Recognition Request Pending


1
  The last four digits of the United States Tax Identification Number or Canadian Business Number of the Debtors,
as applicable, follow in parentheses: Kodiak Services USA, Inc. (0169) (“Kodiak USA”), Kodiak Services
Partnership (9809) (“Kodiak Partnership”), Kodiak Wireline Services Ltd. (2948) (“Kodiak Wireline”), Kodiak
Energy Solutions Ltd. (2892) (“Kodiak Solutions”), Kodiak Tools Ltd. (3099) (“Kodiak Tools”), and 1623360
Alberta Ltd. (1045) (“162 Alberta”, collectively with Kodiak Partnership, Kodiak Wireline, Kodiak Solutions, and
Kodiak Tools, the “Canadian Debtors”). The Debtors’ headquarters is located at #2230, 13 Mission Avenue, St.
Alberta, Alberta. Kodiak’s principal place of business in the US is located at its leased premises in Midland, Texas.
                DECLARATION OF DAN MCCULLOCH IN SUPPORT OF
             VERIFIED PETITIONS FOR RECOGNITION UNDER CHAPTER 15
                 AND FOR ADDITIONAL RELIEF UNDER 11 USC § 1521

        I, Dan McCulloch, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury

under the laws of the United States of America that the following is true and correct:

        1.      I am a natural person over the age of 18, a citizen of Canada, and, if called upon,

could testify to all matters set forth in this declaration.

        2.      I am a Vice President at the firm Ernst & Young Inc. (the “Receiver”), the

putative foreign representative and duly authorized and appointed Receiver over the assets and

undertakings of the above-captioned affiliates (collectively, the “Debtors” or “Kodiak”) in a

proceeding (the “Receivership Proceeding”) under Section 243(1) of the Bankruptcy and

Insolvency Act, R.S.C. 1985, c. B-3, as amended (the “BIA”) and Section 13(2) of the

Judicature Act, RSA 2000 c J-2, as amended (the “Judicature Act”) before the Court of Queen’s

Bench of Alberta (the “Canadian Court”).

        3.      I submit this declaration in support of the verified petitions for recognition under

chapter 15 and for additional relief under 11 U.S.C. § 1521 (the “Petitions”) filed concurrently

herewith.

        4.      Matters stated in this declaration that are statements of fact and that are based

upon my personal knowledge are true and correct. Matters stated in this declaration that are

statements of fact and that are not based upon my personal knowledge but that are derived from

documents or information supplied to me are true to the best of my information and belief.

The Declarant

        5.      I am a licensed Canadian trustee in bankruptcy, a Chartered Insolvency and

Restructuring Professional and a Chartered Accountant and specialize in corporate workouts,

bankruptcy, and other insolvency matters. I am a Partner & Senior Vice President in the



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accountancy firm Ernst & Young Inc. and, since January 2, 2015, have been a part of the

insolvency practice of Ernst & Young Inc. I have been practicing in the area of corporate

workouts, bankruptcy and insolvency for twenty years, acting as a receiver, monitor, and/or

bankruptcy trustee for domestic and foreign clients, as well as advising in respect of out-of-court

liquidations.

Commencement and Purpose of Chapter 15 Cases

       6.       This Declaration is submitted in support of the Petitions, which are being filed

herewith, by and through, Dentons US LLP. The purpose of the above-captioned chapter 15

cases (the “Chapter 15 Cases”) is to enable the Receiver to carry out the terms of the

Receivership Order and to identify, realize, and administer the Debtors’ assets within the

territorial jurisdiction of the United States for distribution in the Receivership Proceeding.

                                         BACKGROUND

Business and Assets

       7.       Kodiak has historically operated throughout Northern Alberta, Saskatchewan, and

British Colombia, Canada, and Midland, Texas though as at the date of the January 10, 2019, it

was operating only in Alberta and Texas. Historically, Kodiak’s Canadian and US operations are

integrated and run by common management. The majority of the Kodiak shareholders, ultimately

responsible for Kodiak’s overall operations, are located in St. Albert, Alberta, Canada.

       8.       An organizational chart showing the ownership structure of Kodiak is attached as

Exhibit A.

       9.       Kodiak’s assets are comprised of the assets necessary to conduct wireline

services, which includes, among other things, vehicles, trailers, and industry specific equipment

including explosives and nuclear materials in the United States.

       10.      Kodiak also holds the following real estate interests:


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              a. an ownership interest, subject to mortgages, held by Kodiak Partnership in

                    Whitecourt, Alberta;

              b. a leasehold interest held by Kodiak Partnership in Calgary, Alberta;

              c. a leasehold interest held by Kodiak Partnership in Provost, Alberta;

              d. a leasehold interest held by Kodiak Partnership in Slave Lake, Alberta;

              e. a leasehold interest held by Kodiak Partnership in Red Deer, Alberta; and

              f. a leasehold interest held by Kodiak USA in Midland, Texas (the “Midland

                    Lease”).

Debt and Security

       11.    Kodiak has two primary secured lenders, ATB Financial, formerly Alberta

Treasury Branches, (“ATB”) and Export Development Canada (“EDC”).

       12.    ATB is a corporation existing pursuant to the provisions of the ATB Financial

Act, RSA 2000 c A-45.2.

       13.    EDC is a self-financing Canadian Crown corporation existing pursuant to the

Export Development Act, RSC 1985 c E-20, who supports and develops Canada’s export trade by

helping Canadian companies respond to international business opportunities.

   A. ATB

       14.    Pursuant to a restated credit agreement dated March 13, 2018, as subsequently

amended, ATB provided certain loans to Kodiak Partnership (the “ATB Kodiak Partnership

Loans”).

       15.    I am advised that, as at March 19, 2019, Kodiak Partnership was indebted to ATB

pursuant to the ATB Kodiak Partnership Loans for $5,313,372.22 (the “Kodiak Partnership ATB

Indebtedness”).

       16.    The Kodiak Partnership ATB Indebtedness is guaranteed by:


                                               4
              a. Kodiak Wireline, pursuant to an unlimited guarantee dated August 17, 2017;

              b. Kodiak Solutions, pursuant to an unlimited guarantee dated December 18,

                  2017;

              c. Kodiak Tools, pursuant to an unlimited guarantee dated December 18, 2017;

              d. 162 Alberta, pursuant to an unlimited guarantee dated December 18, 2017;

                  and

              e. Kodiak USA, pursuant to an unlimited guarantee dated December 18, 2017;

                  (collectively, the “Kodiak Partnership ATB Guarantees”).

       17.    Pursuant to a restated credit agreement dated February 26, 2018, as subsequently

amended, ATB provided certain loans to Kodiak Wireline (the “ATB Kodiak Wireline Loans”,

collectively with the ATB Kodiak Partnership Loans, the “ATB Kodiak Loans”).

       18.    I am advised that, as of March 19, 2019, Kodiak Wireline was indebted to ATB

pursuant to the ATB Kodiak Wireline Loans for $4,803,866.13 (the “Kodiak Wireline ATB

Indebtedness”).

       19.    The Kodiak Wireline ATB Indebtedness is guaranteed by:

              a. Kodiak Partnership, pursuant to an unlimited guarantee dated December 18,

                  2017;

              b. Kodiak Solutions, pursuant to an unlimited guarantee dated December 18,

                  2017;

              c. Kodiak Tools, pursuant to an unlimited guarantee dated December 18, 2017;

              d. 162 Alberta, pursuant to an unlimited guarantee dated December 18, 2017;

                  and

              e. Kodiak USA, pursuant to an unlimited guarantee dated December 18, 2017;




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                  (collectively, the “Kodiak Wireline ATB Guarantees”, and together with the

              Kodiak Partnership ATB Guarantees the “Kodiak ATB Guarantees”).

       20.    As security for their respective obligations to ATB, Kodiak executed the

following security agreements in favor of ATB:

              a. Security Agreement granted by Kodiak Partnership dated August 17, 2017;

              b. Security Agreement granted by Kodiak Wireline dated August 17, 2017;

              c. Security Agreement granted by Kodiak Solutions dated December 18, 2017;

              d. Security Agreement granted by Kodiak Tools dated December 18, 2017; and

              e. Security Agreement granted to Kodiak USA dated January 25, 2019;

              (the foregoing is collectively referred to herein as the “Kodiak ATB Security

              Agreements”).

   B. EDC

       21.    Pursuant to Loan Agreements dated April 25, 2017 and November 13, 2017, EDC

provided certain loans to Kodiak USA (the “EDC Kodiak USA Loans”).

       22.    I am advised that, as at March 18, 2019, Kodiak USA was indebted to EDC

pursuant to the EDC Kodiak USA Loans for $3,635,088.80 (the “Kodiak USA EDC

Indebtedness”).

       23.    The portion of the Kodiak USA EDC Indebtedness related to loans made under

the April 25, 2017 Loan Agreement is guaranteed by:

              a. Kodiak Wireline, pursuant to an unlimited guarantee dated April 25, 2017;

                    and

              b. Kodiak Partnership, pursuant to an unlimited guarantee dated April 25, 2017;

                    (collectively, the “April 25 EDC Guarantees”)




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       24.    The portion of the Kodiak USA EDC Indebtedness related to loans made under

the November 13, 2017 Loan Agreement is guaranteed by:

              a. Kodiak Wireline, pursuant to an unlimited guarantee dated November 13,

                  2017; and

              b. Kodiak Partnership, pursuant to an unlimited guarantee dated November 13,

                  2017; (collectively, the “November 13 EDC Guarantees”, and collectively

                  with the April 25 EDC Guarantees, the “Kodiak EDC Guarantees”)

       25.    As security for their respective obligations to EDC, Kodiak executed the

following security agreements in favor of EDC:

              a. Security Agreement granted by Kodiak USA dated April 25, 2017;

              b. General Security Agreement granted by Kodiak Partnership dated April 25,

                  2017;

              c. General Security Agreement granted by Kodiak Wireline dated April 25,

                  2017;

              d. Security Agreement granted to Kodiak USA dated November 13, 2017;

              e. General Security Agreement granted by Kodiak Partnership dated November

                  13, 2017; and

              f. General Security Agreement granted by Kodiak Wireline dated November 13,

                  2017;

(the foregoing is collectively referred to herein as the “Kodiak EDC Security Agreements”).

Demand and Forbearance

       26.    As of the summer of 2018, Kodiak Partnership and Kodiak Wireline were in

default of their respective loan agreements with ATB.




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       27.     On or about July 26, 2018, ATB, through its legal counsel, made demand of

Kodiak in respect of their obligations owing to ATB and issued notices of intention to enforce

security in accordance with section 244 of the BIA.

       28.     On August 7, 2018, ATB entered into a forbearance agreement with Kodiak, (the

“Forbearance Agreement”), for the purpose of allowing time to obtain additional funds through

either or a combination of a sale of the assets of Kodiak USA or an equity injection.

       29.     Pursuant to the Forbearance Agreement, each member of Kodiak acknowledged

and agreed that the ATB Indebtedness was due and payable and that the Kodiak ATB Guarantees

and the Kodiak ATB Security Agreements (excluding the Security Agreement provided by

Kodiak USA, which was not in existence at the time) were valid and enforceable. Additionally,

it was a term of the Forbearance Agreement that, upon an event of default, ATB would have the

immediate right, without further notice, to enforce and appoint a receiver over the Kodiak’s

assets and undertakings.

       30.     Kodiak defaulted under the terms of the Forbearance Agreement due to Kodiak

ceasing operations and that the Forbearance Agreement expired through the effluxion of time.

The Commencement of the Receivership Proceedings

       31.     On January 10, 2019, ATB brought an application to appoint a receiver and

manager over the assets, properties, and undertakings of Kodiak Partnership, Kodiak Wireline,

Kodiak Solutions, Kodiak Tools, and 162 Alberta (the “Initial Receivership Entities”), and a

hearing was held in the Canadian Court in respect thereof.

       32.     On January 10, 2019, the Canadian Court granted an order (the “Initial

Receivership Order”) in the Receivership Proceeding appointing Ernst & Young Inc. as interim

receiver and receiver and manager of the all of the Initial Receivership Entities’ current and




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future assets, undertakings, and properties of every nature and kind whatsoever, and wherever

situate, including all proceeds thereof (collectively, the “Initial Property”).

         33.      The Initial Receivership Entities had each consented to the Initial Receivership

Order.

         34.      The Initial Receivership Order expressly granted ATB leave to apply to the

Canadian Court for an order appointing a receiver and manager over the current and future

assets, undertakings, and properties of Kodiak USA.

         35.      On March 13, 2019, ATB brought an application to appoint Ernst & Young Inc.

as receiver and manager over the assets, properties, and undertakings of Kodiak USA and a

hearing was held in the Canadian Court in respect thereof.

         36.      On March 13, 2019, the Canadian Court amended the Initial Receivership Order

(the Initial Receivership Order, as amended, being the “Receivership Order”) in the Receivership

Proceeding expanding the Initial Receivership Order to appoint Ernst & Young Inc. as receiver

and manager of the all of Kodiak USA’s (collectively with the Initial Receivership Entities, the

“Receivership Parties”) current and future assets, undertakings, and properties of every nature

and kind whatsoever, and wherever situate, including all proceeds thereof (collectively with the

Initial Property, the “Property”).

         37.      A true and correct certified copy of the Receivership Order is attached hereto as

Exhibit B.

The Receivership

         38.      Pursuant to the Receivership Order, the Receiver is empowered and authorized,

but not obligated, to act at once in respect of the Property, including:

               a. to take possession of and exercise control over the Property and any and all

                  proceeds, receipts and disbursements arising out of or from the Property;


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             b. to receive, preserve and protect the Property, or any part or parts thereof;

             c. to manage, operate and carry on the business of the Receivership Parties;

             d. to receive and collect all monies and accounts now owed or hereafter owing to the

                Receivership Parties;

             e. to market any or all of the Property;

             f. to sell, convey, transfer, lease or assign the Property or any part or parts thereof

                out of the ordinary course of business:

             g. to apply for any vesting order or other orders necessary to convey the Property or

                any part or parts thereof to a purchaser or purchasers thereof, free and clear of any

                liens or encumbrances affecting such Property;

             h. to exercise any shareholder, partnership, joint venture or other rights which the

                Receivership Parties may have; and

             i. to take any steps reasonably incidental to the exercise of these powers or the

                performance of any statutory obligations,

and in each case where the Receiver takes any such actions or steps, it is exclusively authorized

and empowered to do so, to the exclusion of all other individuals, firms, corporations,

government bodies or agencies, or other entities having notice of the Receivership Order,

including the Receivership Parties.

       39.      Pursuant to the BIA, the Receiver is an independent officer of the Canadian Court

and acts on behalf of all creditors of Kodiak. The Receiver is to secure and monetize Kodiak’s

assets to maximize realization for distribution to creditors entitled to same. Also pursuant to the

BIA, the Receiver is obligated to file reports with the Canadian Court and the Superintendent of

Bankruptcy, the federal regulator in Canada, on the progress of, and major events that occur

during, the Receivership Proceeding.


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       40.     To that end, the Receiver is in the process of inspecting Kodiak’s books and

records, taking possession of the Property, identifying potential creditors in Canada and the US,

notifying them of the Receivership Proceeding where necessary or appropriate, and determining

the complete body of claims against the Property and their priority.

       41.     The Receiver is also in the process of undertaking a marketing process in respect

of the Property with a view to identifying one or more suitable buyers and completing sale

transactions in respect of the Property. The Receiver has commenced a sales process with

respect to certain of the Property located in Canada. In most cases, pursuant to the Receivership

Order, the Receiver will require approval of the Canadian Court for each significant sale

transaction and will seek from the Canadian Court a vesting order, delivering title to the assets

free and clear of the claims of all creditors. To the extent required, an order recognizing such

sale as to assets located in the United States will be sought from this Court.

Treatment of Creditor Claims and Distribution of Proceeds within the Receivership Proceeding

       42.     The Receiver has a duty to undertake a review of any and all secured claims,

charges or liens in respect of all assets comprising the Property to determine their validity, extent

and priority. Once this is done, the Receiver will seek the approval of the Canadian Court, on

notice to the Receivership Parties and other parties in interest, to distribute the proceeds of all

sales of the Property to any secured creditors in accordance with the priority of all such claims,

including the claims of the Receiver (if any) in respect of its priority charges under the

Receivership Order related to costs of administering the Receivership. Any proceeds in excess

of secured claims will be distributed by Canadian Court order. Thus, no funds or assets will be

distributed to ATB, EDC, or others without supervision by and approval of the Canadian Court.

       43.     The Receiver is currently aware that ATB, EDC, and certain equipment lessors

assert secured claims over the Property, and the Receiver continues to review the Debtors’ books


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and records and other relevant sources, such as the relevant personal property security registries

in the United States and Canada, to ensure all secured creditors are identified.

       44.     The Receiver does not expect any funds to remain for distribution to unsecured

creditors. If sale proceeds remain after payments are made to all identified secured creditors, as

contemplated above, the Receiver would likely seek to conduct a claims process, either through

the Receivership Proceeding or by filing for bankruptcy in respect of the Debtors, for the purpose

of distributing proceeds to unsecured creditors of each Debtor on a pro rata basis, through the

Canadian Court. I am informed that such ratable distribution is similar to what would occur in

the United States. Additionally, if a creditor wished to object to the Receiver’s adjudication of

his or her claim, such creditor would have a right to be heard in the Canadian Court.

       45.     If such a claims process is not undertaken, unsecured creditors would retain their

claims against the Receivership Parties such that the rights of unsecured creditors to assert their

claims against the Debtors would be unaffected by the Receivership Order and the Receivership

Proceeding.

       46.     In my view, the claims process outlined above, as overseen by the Canadian

Court, would be efficient in terms of the costs to the Debtors and diminution of proceeds

available to creditors, fair to all creditors of the Debtors, whether Canadian or American, and

appropriate in the circumstances. For this reason, the Receiver requests that this Court permit all

claims to be administered under Canadian law and to be overseen by the Canadian Court in

respect of secured and unsecured claims against all the Debtors, without the requirement of an

additional claims process to be run through the Chapter 15 Cases.

Center of Main Interest and Assets Located in the US

       47.     Historically, and for the majority of its life, Kodiak’s Canadian and US operations

were integrated and primarily conducted out of Canada. It is only recently, since the summer of


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2018, that management of the Canadian and US operations have been separated. The majority of

Kodiak’s shareholders, ultimately responsible for its operations, are located in Alberta, Canada.

The major creditors of both the Canadian Debtors and Kodiak USA are ATB and EDC. These

entities are both Canadian and both offered credit based upon, and at a time when, Kodiak’s

Canadian and US operations were consolidated and managed primarily in Canada.

       48.     Certain equipment and other Property covered by the Receivership Order are also

located on the lands covered by the Midland Lease. Additionally, it appears that certain property

of the Canadian Debtors has been moved to Midland, Texas and is located on the property

subject to the Midland Lease and under the control of Kodiak USA. It further appears that some

property of a di minimus value of Kodiak USA may have been transferred to Alberta.

       49.     The Receiver has not yet identified any US Accounts which have cash on deposit

that is covered by the Receivership Order, though further investigation is required to determine if

such accounts exist.

       50.     The Receiver has not yet identified if there are receivables owed to Kodiak

recoverable in the United States or the full extent to which property of the Canadian Debtors has

been transferred to the US. Further investigation to determine the extent to which each of these

exist is required so that the Receiver can secure and realize upon them to fulfill its mandate in the

Receivership Proceedings. The Receiver is also in the process of identifying whether there are

other assets located in the United States.

       51.     The Receiver also seeks relief under chapter 15 to protect the Debtors’ asset value

from diminution due to expropriation of assets or other reasons, termination of executory

contracts and unexpired leases (such as the Midland Lease), and other risks to the value of the

Property located in the United States, to enable the Receiver to identify United States creditors,




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and to determine how best to maximize the value of the Property located in the United States and

the operations of the Debtors for the benefit of all creditors.

Corporate Ownership

       52.     An organizational chart detailing corporate ownership of Kodiak is attached as

Exhibit A.

                                             MOTIONS

       53.     In furtherance of the above-outlined objectives, the Receiver expects to file a

number of motions and proposed orders and respectfully requests that the Court consider

entering the proposed orders granting such motions. I have reviewed each of the motions and

proposed orders (including any exhibits thereto) and the facts set forth there are true and correct

to the best of my knowledge, information and belief.

A.     Verified Petition and Motion for Recognition of a Foreign Proceeding and
       Additional Provisional and Final Relief

       54.     The Receiver has filed, concurrently herewith, a motion (the “Recognition

Motion”) seeking provisional relief, final relief and final recognition of the Receivership

Proceeding as a foreign proceeding. As set forth in the Recognition Motion, this Court should

recognize the Receivership Proceeding as a “foreign main proceeding”, as defined in section

1502(4) of the Bankruptcy Code. In the alternative, this Court should recognize the Receivership

Proceeding as a “foreign main proceeding” with respect to the Canadian Debtors and a “foreign

non-main proceeding”, as defined in section 1502(4) of the Bankruptcy Code, with respect to

Kodiak USA.

       55.     I understand that the Bankruptcy Code provides that a foreign proceeding is a

“foreign main proceeding” if it is pending in the country where the debtor has its “center of main

interests,” and a foreign proceeding is a “foreign non-main proceeding” if it is pending in the

country where the debtor has an “establishment,” defined as a place of operations where the

                                                  14
debtor “carries out a nontransitory economic activity.” See 11 U.S.C. §§ 1517(b)(1)-(b)(2), §

1502(2).

       56.     As set forth above, Canada is the center of main interests for each of the

Receivership Parties. At the very least, Canada is the center of main interests for Canadian

Debtors, and Kodiak USA maintains nontransitory economic activities in Canada. It is my belief

that Canada is the Debtors’ center of main interests, and, accordingly, the Receivership

Proceeding should be recognized by the Court as a foreign main proceeding. However, even

assuming that Canada is not the center of main interests of Kodiak USA, based on the above

description, it is my belief that Kodiak USA clearly has an “establishment” in Canada within the

meaning of section 1502(2) of the Bankruptcy Code.

       57.     By the Recognition Motion, the Receiver also requests preliminary relief

(a) pursuant to section 1519(a)(1), staying execution against the Debtors’ assets, (b) pursuant to

section 1519(a)(2), entrusting the administration or realization of any and all Property located in

the US to the Receiver, in order to protect and preserve the value of assets, and (c) pursuant to

section 1519(a)(3), suspending the right of any party save the Receiver to transfer, encumber or

otherwise dispose of any of the Property located in the US. The Receiver also requests the

application of sections 362 and 365(e) (but not any other subsection of Section 365, or Section

365 generally) of the Bankruptcy Code.

       58.     As explained more fully in the Recognition Motion, such preliminary relief

pending the Court’s determinations with respect to recognition of the Receivership Proceeding as

a “foreign main proceeding” will protect the Debtors’ creditors and other stakeholders from

irreparable harm from dissipation of assets by management, individual creditor action against the

Debtors, and/or termination of executory contracts due to either the filing of the Receivership

Proceeding or the Chapter 15 Cases. Accordingly, I believe that granting the provisional relief


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requested in the Recognition Motion is necessary for the successful realization on the Property,

and clearly in the Debtors’ creditors’ best interests.

       59.     Further, the final relief sought in the Recognition Motion is warranted, necessary

and appropriate. The failure to protect the Debtors’ assets located in the United States will

irreparably harm the Receiver’s ability to maximize the value of the Property, on an equitable

basis, for all creditors of the Debtors. The proposed relief will ease these concerns and allow for

the orderly administration of the Debtors’ affairs and equitable resolution of the Debtors’

liabilities with supervision by the Canadian Court. A stay of all actions and remedies that could

be exercised against the Debtors and protection against automatic termination of contracts will

preserve the Debtors’ assets for the benefit of their creditors and allow the Receiver to devote its

full attention to effectively and efficiently liquidating the Debtors’ assets and business.

       60.     Accordingly, based on the foregoing, I urge the Court to grant the relief requested

in the Recognition Motion, as I believe such relief to be vital to a successful monetization of the

Property, and in the best interests of the Debtors and their creditors generally.

B.     Joint Administration of Cases

       61.     The Receiver has filed a motion to jointly administer the Chapter 15 Cases (the

“Joint Administration Motion”). I believe that joint administration is warranted in these cases.

The Debtors are affiliated entities with closely related financial affairs and business operations,

and joint administration will ease the administrative burden on the Court and the parties. I

anticipate that the various notices, applications, motions, other pleadings, hearings and orders in

these cases will affect each of the Receivership Parties. The failure to administer these cases

jointly would result in duplicative pleadings and service. Such unnecessary duplication would

impose avoidable expenses on all parties.




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         62.   Joint administration will permit this Court to use a single docket for the jointly

administered cases and combine notices to creditors and other parties in interest of the Debtors.

Joint administration will also protect parties in interest by ensuring that they will be

appropriately apprised of all matters. Accordingly, I believe entry of an order granting the relief

requested in the Joint Administration Motion is in the best interests of the Debtors and all parties

in interest.

C.       Motion to Approve Order (I) Shortening Notice and Scheduling an Emergency
         Hearing on Verified Petition and Motion for Provisional and Final Relief for
         Recognition of a Foreign Proceeding; (II) Scheduling a Hearing on Chapter 15
         Petitions for Recognition and Joint Administration Motion; and (III) Specifying
         Form and Manner of Service of Notice of Filing of Petitions and Other Pleadings

         63.   The Receiver has filed a motion (the “Notice Motion”) to (a) shorten notice and

schedule an emergency hearing on the Recognition Motion, (b) schedule a hearing on the

Chapter 15 Petitions for recognition, the Recognition Motion and the Joint Administration

Motion, and (c) specify the form and manner of service of notice of the Chapter 15 Cases, the

Recognition Motion, the Joint Administration Motion, and other related pleadings involving the

Chapter 15 Cases.

         64.   The Debtors have creditors, potential creditors, and other parties in interest, all of

which need to be provided with, among other things, notice of the filing of these Chapter 15

Cases, the Provisional Relief Order relating to the Recognition Motion (once entered), the

proposed Recognition Order relating to the Recognition Motion, the deadline to object to the

Recognition Motion, and the hearing on the Recognition Motion. Under the facts and

circumstances of the Chapter 15 Cases, it is my belief that service of the notice in the manner

proposed in the Notice Motion will provide the Debtors’ various parties in interest due and

sufficient notice and service of such matters and any associated objection deadline and hearing

dates.



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     Exhibit A

Organizational Chart
                                                                             Trevor Boddez                                     Lindsay Boddez                                   Gene Schafers                                   Kel Knutson                                       Jeneane Knutson

                                                                                             50 Class “A”               50 Class “B”                                                                                                         50 Class “A”                  50 Class “B”
                                                                                              Common                                                                                        50 Class “A” Common                               Common
                                                                                                                         Common                                                                                                                                             Common
                                                                                                 50%                                                                                                100%                                         50%
                                                                      50,000 Class “B”                                      50%        50,000 Class “B”                                                                 50,000 Class “B”                                       50%            50,000 Class “B”
                                                                         Common                                                           Common                                                                           Common                                                                Common
                                                                          49.95%                                                           49.95%                                                                           49.95%                                                                49.95%

                                                                                                                                                                               Amrak Holdings
     Elaine Schafers                                     Gene Schafers                                                                                                                                                                                                                                        Joe Hickey                                         Tricia Cardinal

                                                                                                    Lintrek Services Ltd.                                                                  650,000 Class “G”                                      Knutson Enterprises Ltd.
                   4,495 Class “A”             4,595 Class “A”                                                                                                                                 Preferred                                                                                                                  50 Class “A”                   50 Class “B”
                      Common                      Common                                            (Holding Company)                                                                                                                               (Holding Company)                                                      Common                         Common
                       49.45%                      50.55%                                                                                                                                                                                                                                                                     50%                            50%
                                                                                                  100 Class “A”                        22,334 Class “A”                                                              15,000 Class “A”
50,000 Class “B”    2,520,000 Class “D”                          50,000 Class “B”                                                          Common                                                                        Common                                                                      50,000 Class “B”                                                     50,000 Class “B”
   Common             Non-Cumulative                                Common                          Common                                                                                                                                                                                              Common                                                               Common
                                                                                                                                            22.33%                                                                         15%                                   100 Class “A”
    49.95%             Redeemable                                    49.95%                          0.10%                                                                                                                                                                                               49.95%                                                               49.95%
                                                                                                                                                           216,624 Class “H”                         650,000 Class “C”                                             Common
                        Preferable                                                                                                                                                                                                                                  0.10%
                                                                                                                                                               Preferred                                 Preferred


                         1119845 Alberta Ltd.                                                                                                                                                                      650,000 Class “C”                                                                                             2060037 Alberta ULC
                          (Holding Company)                                                        1583021 Alberta Ltd.
                                                                                                                                                                                                                       Preferred
                                                                                                                                                                                                                                                       1984197 Alberta Ltd.                                                       (Holding Company)

                         100 Class “A”
                                                                                                    (Partner Company)                                                  Kodiak Wireline Services                                                         (Partner Company)
                           Common                                                                                                                                                Ltd.                                                                                                                                                          100 Class “A”
                            0.10%                                                        2,334 Participating Units                                                                                                                                                1,500 Participating Units
                                                                                                (23.34%)                                                                  (Asset Company)                                                                                  (15%)                                                                 Common
                                                                                                                                                                                                                                                                                                                                                  0.10%

                                                                        44,666 Class “A”                                                                                                   100 Class “A” Common                                                                                15,000 Class “A”
                                                                            Common                                                                                                                 100%                                                                                            Common
                                                                             44.67%                                                                                                                                                                                                                  15%
                         1583339 Alberta Ltd.                                             2,520,500 Class “D”                                                                                                                                                                    650,000 Class “F”
                                                                                                                                                                                                                                                                                                                                 1583023 Alberta Ltd.
                          (Partner Company)                                                    Preferred                                                                                                                                                                             Preferred                                    (Partner Company)
                                                                                                        433,376 Class “H”                                                1583345 Alberta Ltd.
                   4,666 Participating Units                                                                Preferred                                                                                                                                                                                                                         1,500 Participating Units
                          (46.66%)                                                                                                                                                                                                                                                                                                                     (15%)
                                                                                                                                                                               7,964,468 Non-Participating Units




                                          Jamon Ludwar                                                                                                                      Kodiak Services
                                                                                                                                                 1 Share                     Partnership
                                                                                                                                                   1%                    (Operating Company)                                                                                                                                  David Blanchet

                                                                                                                                                                                           100 Class “A” Common
                                                                                                                                                                                                   100%                                                                                                                                       100%
                                                                                                                                                                         1623360 Alberta Ltd.
                                               30,000 Common                                                                                                              (Canadian Holding                                                                                                                               Blanchet Oilfield
                                                    20%
                                                                                                                                                                              Company)                                                                                                                                  Services Incorporated
                                                                                                                                                                                                                                                                                                                                         30 Common
                                                                                                            120,000 Common                                                 100 Class “A”    Common 100%                                                                                                                                      30%
                                                                                                                                                                                                                                                                                   70 Common
                                                                                                                  80%                                                                                                                      100 Share                                   70%
                                                                                                                                                    99 Share           Kodiak Services Int’l Inc.                                            100%
                                                                                                                                                      99%
                                                                                                                                                                          (Barbados Corp)
                                                            Kodiak Energy Solutions                             Kodiak Services Mexico,
                                                                                                                                                                                                                                   Kodiak Services USA, Inc                                               Kodiak Tools Ltd.
                                                                     Ltd.                                             SA. de CV.
                                                                                                                                                                                                                                         (USA Corp)                                                        (Canada Corp)
                                                                (Canada Corp)                                       (Mexico Corp)                                      Kodiak Services Int’l Inc.
                                                                                                                                                                         (Colombian Branch)
    Exhibit B

Receivership Order
